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                                                                   December 18, 2020

Honorable Indira Talwani
United States District Judge
U.S. Courthouse
One Courthouse Way
Boston, MA 02210

         Re:      Taylor, et al. v. McDermott, et al.
                  Case No. 4:20-cv-11272-IT

Dear Judge Talwani:

       I am writing to advise you that in light of the filing today by the Government, and its
acknowledgement of a significant factual error by Japan, the defense intends to file a motion for
reconsideration of the probable cause finding by Magistrate Judge Cabell as to Peter Taylor
(Case No. 20-mj-1070-DLC; ECF No. 54). It is our understanding that once the Government
receives formal notification of this important development, it intends to file an official notice on
the ECF docket. Once that notice is filed, our intention is to promptly file the above-described
motion.

        We are providing this courtesy notice to the Court since we understand and appreciate
that there are pending matters before Your Honor which could be impacted by these
developments and the forthcoming filings by the parties.


                                                                         Very truly yours,




4821-0018-0692, v. 1
